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                                    1:15-cv-04310-LMM
                              Lee v. Chung's Family, Inc. et al
                               Honorable Leigh Martin May

                   Minute Sheet for proceedings held In Chambers on 02/09/2016.


    TIME COURT COMMENCED: 10:01 A.M.
    TIME COURT CONCLUDED: 10:26 A.M.              COURT REPORTER: Montrell Vann
    TIME IN COURT: 00:25                          DEPUTY CLERK: Rebecca Bachelor
    OFFICE LOCATION: Atlanta

ATTORNEY(S)         Tasha Inegbenebor representing Chung's Family, Inc.
PRESENT:            Tasha Inegbenebor representing Koo Pil Chung
                    Tasha Inegbenebor representing Mae Hwa Chung
                    Brian Kim representing Patrick Lee
                    Benson Pope representing Chung's Family, Inc.
                    Benson Pope representing Koo Pil Chung
                    Benson Pope representing Mae Hwa Chung
PROCEEDING
                    Telephone Conference (Motion Hearing Non-evidentiary);
CATEGORY:
MINUTE TEXT:        A Telephone Conference was held on the Parties' [12] Joint Motion to
                    Approve Settlement and Submit Proposed Settlement Agreement Under
                    Seal. The Court heard from Plaintiff's and Defendants' counsel regarding
                    the settlement and request to file the agreement under seal. The Court
                    granted in part and denied in part the Parties' motion. The Court GRANTS
                    the Parties' Joint Motion as it relates to the approval of the settlement
                    agreement, and DENIES the Parties' request for the settlement to be filed
                    under seal. The Court requested that Defendants file the settlement
                    agreement on CM/ECF. Written order to follow.
HEARING STATUS:     Hearing Concluded
